                     Case 1:16-cr-00023-JRH-BKE Document 138 Filed 10/19/16 Page 1 of 6

GAS 245B          (Rev. 09/11) Judgment in a Criminal Case                                                                 U-S. DISTRi'CT COURT
DC Custody TSR    Sheet I                                                                                                      AUGUSTA DIV,
                                                                                                                           ^OISOCT 19 PH 2: 99
                                          United States District Court                                                                  ^
                                                      SOUTHERN DISTRICT OF GEORGIA                                     CLERK
                                                                AUGUSTA DIVISION                                             SO.DIST. OFGA.
            UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL CASE
                                   V.

                          Justina Rivera
                                                                                        Case Number:           l:16CR00023-6

                                                                                        USM Number:            21457-021

                                                                                        Grant K. Usry
                                                                                        Defendant's Attorney
THE DEFENDANT:

^ pleaded guilty to Count           5 .

□ pleaded nolo contendere to Counl(s)                          which was accepted by the court.
□ was found guilty on Count(s)                          after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                   Nature of Offense                                                                  Offense Ended               Count


18 U.S.C. § 1349                  Conspiracy to commit bank fraud                                                    August 13, 2015               5


       The defendant is sentenced as provided in pages 2 through             6       of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)

^ Counts 1 through 4 and Counts 6 through 9 are dismissed as to the defendant on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                              October 18, 2016
                                                                              bate of Imposition



                                                                              Signature




                                                                              J. Randal Hall
                                                                                 United States District Judge
                                                                                 Name and Title of Judge




                                                                                 Date
Case 1:16-cr-00023-JRH-BKE Document 138 Filed 10/19/16 Page 2 of 6
Case 1:16-cr-00023-JRH-BKE Document 138 Filed 10/19/16 Page 3 of 6
Case 1:16-cr-00023-JRH-BKE Document 138 Filed 10/19/16 Page 4 of 6
Case 1:16-cr-00023-JRH-BKE Document 138 Filed 10/19/16 Page 5 of 6
Case 1:16-cr-00023-JRH-BKE Document 138 Filed 10/19/16 Page 6 of 6
